Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 1 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 2 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 3 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 4 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 5 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 6 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 7 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 8 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 9 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 10 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 11 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 12 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 13 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 14 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 15 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 16 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 17 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 18 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 19 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 20 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 21 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 22 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 23 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 24 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 25 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 26 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 27 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 28 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 29 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 30 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 31 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 32 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 33 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 34 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 35 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 36 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 37 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 38 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 39 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 40 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 41 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 42 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 43 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 44 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 45 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 46 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 47 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 48 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 49 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 50 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 51 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 52 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 53 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 54 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 55 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 56 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 57 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 58 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 59 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 60 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 61 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 62 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 63 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 64 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 65 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 66 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 67 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 68 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 69 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 70 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 71 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 72 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 73 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 74 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 75 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 76 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 77 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 78 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 79 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 80 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 81 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 82 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 83 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 84 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 85 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 86 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 87 of 88
Case 1:16-bk-12255-GM   Doc 647 Filed 01/08/19 Entered 01/08/19 15:24:12   Desc
                         Main Document    Page 88 of 88
